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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    GREENVILLE DIVISION

C. D. PICKLE, JR.                                                                    PETITIONER

v.                                                                           No. 4:21CV9-SA-JMV

BURL CAIN, ET AL.                                                                 RESPONDENTS


                                       FINAL JUDGMENT

       In accordance with the memorandum opinion issued today in this cause, the instant petition

for a writ of habeas corpus is DISMISSED with prejudice for want of substantive merit.

       SO ORDERED, this, the 12th day of May, 2021.

                                                     /s/ Sharion Aycock
                                                     UNITED STATES DISTRICT JUDGE
